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10 UNIVERSAL MUSIC GROUP, INC.
11                        UNITED STATES DISTRICT COURT
12                      CENTRAL DISTRICT OF CALIFORNIA
13                               WESTERN DIVISION
14 SEAN HALL, etc., et al.,              )   Case No. 2:17−cv−06882 MWF (ASx)
15                                       )
                Plaintiffs,              )
16        vs.                            )   MEMORANDUM OF POINTS AND
                                         )   AUTHORITIES IN SUPPORT OF
17 TAYLOR SWIFT, etc., et al.,           )   MOTION TO AMEND OR
                                         )   RECONSIDER SUMMARY
18              Defendants.              )   JUDGMENT RULING
19                                       )
                                             Date: February 7, 2022
20                                           Time: 10:00 a.m.
21
                                                   Courtroom of the Honorable
22                                                   Michael W. Fitzgerald
                                                   United States District Judge
23
24
25
26
27
28
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 1                 MEMORANDUM OF POINTS AND AUTHORITIES
 2 1.      INTRODUCTION
 3         Mindful of both the burden on the Court but also the importance of the issue,
 4 Defendants respectfully request that the Court consider that its December 9, 2021,
 5 Order (Doc. 104) denying Defendants’ Motion for Summary Judgment did not address
 6 one specific issue, namely whether Plaintiffs’ claimed substantial similarity survives
 7 this Circuit’s extrinsic test.
 8         The Order identifies the lyrics at issue and concludes there is “a genuine dispute
 9 as to the potential substantial similarity between the lyrics and their sequential
10 structure as framed by Plaintiffs.” Order at 2-3, 10. However, the Order does not
11 apply the extrinsic test to that claimed substantial similarity, and that test mandates,
12 inter alia, that “it is essential to distinguish between the protected and unprotected
13 material in a plaintiff’s work.” Skidmore v. Led Zeppelin, 952 F.3d 1051, 1064 (9th
14 Cir. 2020) (quoting Swirsky v. Carey, 376 F.3d 841, 845 (9th Cir. 2004)).1
15         Thus, the Order finds support in the testimony of Dr. Ferrara that “the first half
16 of the allegedly infringed four-part sequence from Playas demonstrates ‘concrete
17 objective similarity to [the] lyrics in [Shake].’” Order at 10 (quoting Depo. of Dr.
18 Ferrara (Doc. 98-11) at 40:15-19). But the similarity he identified is that both songs
19 use “players gonna play” and “haters gonna hate” phrases (Depo. of Dr. Ferrara at
20 40:15-19), which Plaintiffs admit are unprotected and in the public domain. The
21 remaining claimed similarities are in ideas and concepts that also do not establish
22
23   1
            The Order’s only reference to the extrinsic test is to tie it to a statement in
24   Swirsky regarding the difficulties district courts face in applying the extrinsic test to
     music. Order at 9 (citing Swirsky, 376 F.3d at 851 (“music is comprised of a large
25
     array of elements,” including melody, harmony, rhythm, etc.)). But as the Order
26   points out, Plaintiffs have “expressly reiterate[d] that ‘the music is not part of the
     infringement claim’ . . . .” (id. at 7 (quoting Pltfs’ Oppn. (Doc. 98) at 2)). Also,
27
     Swirsky expressly raised that literary works are more easily analyzed under the
28   extrinsic test. 376 F.3d at 851 n.15.
                                                1
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 1 substantial similarity under the extrinsic test. Similarly, the presence of two public
 2 domain phrases and claimed similar ideas does not constitute a potentially protectible
 3 selection and arrangement that survives the extrinsic test.
 4         The Order does something that, as far Defendants are aware, no other court has
 5 done, namely finding a potentially valid infringement claim in the use of two short
 6 public domain phrases along with allegedly similar ideas and concepts. Defendants
 7 respectfully submit that the ruling should be revisited.
 8 2.      THE RULING ON THE MOTION FOR SUMMARY JUDGMENT
 9         SHOULD BE REVISITED
10         (a)    The Standards Applicable to This Motion
11         A party may seek reconsideration of a ruling on a summary judgment motion.
12 See, e.g., Lolli v. Cty. of Orange, 351 F.3d 410, 418 (9th Cir. 2003) (reversing in part
13 denial of motion for summary judgment). Pursuant to Federal Rule of Civil Procedure
14 60(b), the court may relieve a party from an order for “any [] reason that justifies
15 relief.” Fed. R. Civ. P. 60(b)(6). This includes where a court “committed clear error
16 or the initial decision was manifestly unjust.” Sch. Dist. No. 1J, Multnomah Cty., Or.
17 v. ACandS, Inc., 5 F.3d 1255, 1263 (9th Cir. 1993). This Court’s Local Rule 7-18 also
18 provides that reconsideration is appropriate if there is “a manifest showing of a failure
19 to consider material facts presented to the Court before such decision.” C.D. Cal. L.R.
20 7-18(c). In addition and ultimately, “[a]s long as a district court has jurisdiction over
21 the case, then it possesses the inherent procedural power to reconsider, rescind, or
22 modify an interlocutory order for cause seen by it to be sufficient.” City of Los
23 Angeles, Harbor Div. v. Santa Monica Baykeeper, 254 F.3d 882, 885 (9th Cir. 2001)
24 (emphasis omitted) (quoting Melancon v. Texaco, Inc., 659 F.2d 551, 553 (5th Cir.
25 1981)).
26         Defendants respectfully submit that the reconsideration is appropriate given
27 that the Order does not apply the extrinsic test to the claimed substantial similarity,
28 ///
                                                2
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 1 and applying that standard mandates the entry of summary judgment in Defendants’
 2 favor.
 3          (b)   As an Outcome-Determinative Issue, the Application of the
 4                Extrinsic Test Should Be Specifically Addressed
 5                (1)   As a Matter of Law, the Alleged Copying of Two Public
 6                      Domain Phrases along with Ideas or Concepts Does Not
 7                      Satisfy the Extrinsic Test
 8          After identifying the lyrics at issue by underlining them, the Order concludes
 9 there is “a genuine dispute as to the potential substantial similarity between the lyrics
10 and their sequential structure as framed by Plaintiffs.” Order at 2-3, 10. Those lyrics
11 are:
12                      Playas                               Shake It Off
13        Playas, they gon’ play                   ’Cause the players gonna play,
14        And haters, they gonna hate                 play, play, play, play
15        Ballers, they gon’ ball                  And the haters gonna hate, hate,
16        Shot callers, they gonna call              hate, hate, hate
17                                                                …
18                                                 Heartbreakers gonna break,
19                                                   break, break, break, break
20                                                 And the fakers gonna fake, fake,
21                                                   fake, fake, fake
22          However, Plaintiffs admitted, and it is undisputed, that the phrases “players
23 gonna play” and “haters gonna hate” are unprotected and in the public domain. See,
24 e.g., Defs’ Exh. 17 (Doc. 92-23) at 190-91 (Plaintiffs claim no rights in the phrase
25 “players gonna play” or in the phrase “haters gonna hate”); Depo. of Kajikawa, Defs’
26 Exh. 11 (Doc. 92-17) at 66:21-67:2 (“Q. Do you agree that before the plaintiff’s song
27 Playas Gon’ Play, player hater phrases, including playas gon’ play and haters gonna
28 ///
                                               3
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 1 hate were part of the urban vocabulary? A. Yes.”).2 Accordingly, the extrinsic test
 2 and established Circuit law mandate that these two phrases be “filter[ed] out and
 3 disregard[ed].” Cavalier v. Random House, Inc., 297 F.3d 815, 822 (9th Cir. 2002);
 4 Benay v. Warner Bros. Ent., 607 F.3d 620, 625 (9th Cir. 2010) (summary judgment
 5 affirmed     where    “[t]he   most   important    similarities   involve   unprotectable
 6 elements”), overruled on other grounds by Skidmore, 952 F.3d 1051.
 7         Plaintiffs also claim no rights or protection in the phrases “ballers gonna ball”
 8 and “shot callers gonna call.” See, e.g., Defs’ Exh. 17 at 193-94. For that reason
 9 alone, the extrinsic test requires that those two phrases be filtered out and disregarded.
10         Further, those phrases do not even appear in Shake It Off. Instead, Plaintiffs
11 claim that a similar idea or concept – namely, “we should not be concerned with what
12 other people say and do, trusting in ourselves instead” (Order at 9 (quoting Pltfs’
13 Oppn. at 14)) – underlies Shake It Off’s lyrics, “Heartbreakers gonna break, break,
14 break, break, break” and “And the fakers gonna fake, fake, fake, fake, fake.”
15         Even assuming for the sake of argument that the lyrics share the same idea or
16 concept, that does not satisfy the extrinsic test because ideas are not protected by
17 copyright and, as a result, also must be disregarded. 17 U.S.C. § 102(b). That these
18 phrases are each tautological also is not material because they are expressed
19 differently and the only similarity is the idea of using tautologies. Cavalier, 297 F.3d
20 at 823 (“Copyright law only protects expression of ideas, not the ideas themselves.”);
21 Funky Films, Inc. v. Time Warner Entm’t Co., 462 F.3d 1072, 1076, 1081 (9th Cir.
22 2006) (similarities at a “general, abstract level” are not sufficient under the extrinsic
23 test), overruled on other grounds by Skidmore, 952 F.3d 1051. The use of different
24 tautological phrases is no more protected than the use of any other literary devices,
25 whether, for example, double entendres, puns, or alliteration.
26
27   2
         References to pages of Defendants’ Exhibits are to the Exhibit’s L.R. 11-5.2
28 consecutive numbering.
                                                4
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 1         Under the extrinsic test, “it is essential to distinguish between the protected and
 2 unprotected material in a plaintiff’s work.” Skidmore, 952 F.3d at 1064 (quoting
 3 Swirsky, 376 F.3d at 845). Doing so here leaves only this similarity: both works use
 4 versions of two short public domain phrases – “players gonna play” and “haters gonna
 5 hate” – that are free for everyone to use, and two other but different tautologies that
 6 Plaintiffs claim share the same underlying general idea or concept.3 The presence of
 7 versions of the two short public domain statements and two other tautologies in both
 8 songs – a commonality that the Court has noted – simply does not satisfy the extrinsic
 9 test. Otherwise, Plaintiffs could sue everyone who writes, sings, or publicly says
10 “players gonna play” and “haters gonna hate” alone with other tautologies. To permit
11 that is unprecedented and “cheat[s] the public domain.” Skidmore. 952 F.3d at 1074
12 (quoting Satava v. Lowry, 323 F.3d 805, 811 (9th Cir. 2003)).4
13 ///
14 ///
15 ///
16 ///
17
18   3
          The extrinsic test also requires the consideration of the differences between two
19 works. Funky Films, 462 F.3d at 1078 (plaintiff failed to satisfy extrinsic test where
20 “the two works reveal[] greater, more significant differences and few real
   similarities.”); Cavalier, 297 F.3d at 828 (no substantial similarity if unprotected
21 elements “are arranged and formatted differently”). The Order states there are
22 “noticeable differences between the works” (Order at 9) but does not identify or
   discuss them. The admitted, undisputed differences include, e.g., that Playas’ lyrics
23 have an uninterrupted series of four tautologies while Shake It Off has two pairs of
24 tautologies separated by three lines of lyrics that are absent from Playas, and also that
   the two songs’ respective lyrics “tell very different stories.” Benay, 607 F.3d at 625
25 (summary judgment affirmed); see, e.g., Defs’ Exh. 11 (Kajikawa Depo.) at 125:18-
26 126:9, & at 89:2-8, 93:13-94:7, 94:20-95:17.
     4
          The ruling already has been predicted to have a “chilling effect on songwriters
27
   and future creativity.” See https://www.billboard.com/pro/taylor-swift-shake-it-off-
28 trial-3lw-song-legal-experts/.
                                                5
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  1                (2)   Also as a Matter of Law, a Selection-and-Arrangement Claim
  2                      Cannot Be Based on Ideas, Leaving Plaintiffs with Two
  3                      Public Domain Elements That Also Fail the Extrinsic Test
  4         The extrinsic test applies when the claimed similarity is in the selection and
  5 arrangement of elements. See, e.g., Cavalier, 297 F.3d at 826 (“[I]nfringement [may]
  6 be based on original selection and arrangement of unprotected elements. However,
  7 the unprotectable elements have to be identified, or filtered, before the works can be
  8 considered as a whole.” (quoting Apple Computer, Inc. v. Microsoft Corp., 35 F.3d
  9 1435, 1446 (9th Cir. 1994))). Plaintiffs’ claim also cannot survive the extrinsic test if
 10 the claimed substantial similarity is in the selection and arrangement of elements.
 11         The Order refers to “the selection and arrangement of the four-part lyrical
 12 sequence . . . including, for example: 1) Shake’s combination of tautological phrases;
 13 2) parallel lyrics; and 3) grammatical model ‘Xers gonna X.’” Order at 8. But these
 14 are each ideas or concepts, and a protectible selection of arrangement must be based
 15 on actual, concrete elements. Indeed, the Copyright Act requires that a protectable
 16 selection and arrangement consist of “preexisting materials or of data” while also
 17 confirming that “[i]n no case does copyright protection . . . extend to any idea [or]
 18 concept, . . . regardless of the form in which it is . . . embodied in such work.” 17
 19 U.S.C. §§ 101 (definition of “compilation”) & 102(b) (emphasis added).
 20         Consistent with the Copyright Act, in the seminal selection-and-arrangement
 21 case, Feist Publications, Inc. v. Rural Tel. Serv. Co., 499 U.S. 340 (1991), the
 22 Supreme Court confirmed that an original selection and arrangement of facts – there,
 23 the names and telephone numbers of residents – may be protected, although arranging
 24 them alphabetically was not original. Id. at 342-43, 348, 363. Similarly, in L.A.
 25 Printex Indus., Inc. v. Aeropostale, Inc., 676 F.3d 841 (9th Cir. 2012), abrogated on
 26 other grounds as recognized by Unicolors, Inc. v. H&M Hennes & Mauritz, L.P., 959
 27 F.3d 1194, 1198 (9th Cir. 2020), the Court confirmed that “[t]he idea of a floral pattern
 28 depicting bouquets and branches is not protectible” (676 F.3d at 850), but found a
                                                6
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  1 protectible selection and arrangement in “a repeating pattern of bouquets of flowers
  2 and three-leaf pattern” (id. at 850-51).
  3         Ninth Circuit decisions have repeatedly relied on the principle that a selection
  4 and arrangement must select and arrange actual elements rather than just ideas. See,
  5 e.g., Desire, LLC v. Manna Textiles, Inc., 986 F.3d 1253, 1261 (9th Cir. 2021)
  6 (protected selection and arrangement of fabric’s “stylized floral design”); Skidmore,
  7 952 F.3d at 1074 (“[W]hat a selection and arrangement copyright protects is
  8 the particular way in which the artistic elements form a coherent pattern, synthesis, or
  9 design.” (original emphasis deleted; emphasis added)); Rentmeester v. Nike, Inc., 883
 10 F.3d 1111, 1119 (9th Cir. 2018) (protected selection and arrangement in photograph’s
 11 elements of subject matter, pose, location, lighting, camera angle, depth of field,
 12 foreground, and background), overruled on other grounds by Skidmore, 952 F.3d
 13 1051; Unicolors, Inc. v. Urban Outfitters, Inc., 853 F.3d 980, 986 (9th Cir. 2017)
 14 (stylized floral and feather motifs); see, also Bikram’s Yoga Coll. of India, L.P. v.
 15 Evolation Yoga, LLC, 803 F.3d 1032, 1041 (9th Cir. 2015) (no selection and
 16 arrangement copyright in compilation constituting “an idea, process, or system”).
 17         Absent the requirement that a selection and arrangement consist of “materials,”
 18 “data,” “facts,” or “elements,” a copyright as well as an infringement claim could be
 19 based on a selection and arrangement of ideas and concepts, thereby violating Section
 20 102(b)’s direction that “[i]n no case does copyright protection . . . extend to any idea
 21 [or] concept, . . . regardless of the form in which it is . . . embodied in such work.”
 22         But that is exactly what the Order permits. Indeed, even though the only actual
 23 “material” or “element” Plaintiffs claim was copied are the two short public domain
 24 “player” and “hater” phrases, the Order allows Plaintiffs to continue to pursue their
 25 claim by pointing to ideas that do not survive the extrinsic test, namely the idea of
 26 using tautologies, the idea of parallelism in different lyrics, and the grammatical
 27 structure of “Xers gonna X” in different lyrics.
 28 ///
                                                 7
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  1         Focusing instead on the claimed similarity in the selection and arrangement of
  2 actual, concrete elements rather than in ideas or concepts, Plaintiffs are left with only
  3 the two public domain “player” and “hater” phrases. Those two phrases, which
  4 Plaintiffs’ expert admitted were part of popular vocabulary before Playas, are free for
  5 everyone to use and Plaintiffs cannot monopolize them even if couched as a selection
  6 and arrangement claim.         See, e.g., Skidmore, 952 F.3d at 1074 (“[C]opyright
  7 protection [extends] to ‘a combination of unprotectable elements . . . only if those
  8 elements are numerous enough and their selection and arrangement original enough
  9 that their combination constitutes an original work of authorship.’”) (quoting Satava,
 10 323 F.3d at 811); Beyond Blond Prods., LLC v. Heldman, No. CV205581DSFGSJX,
 11 2020 WL 4782745, at *4 (C.D. Cal. Aug. 14, 2020) (“The law and facts clearly favor
 12 the conclusion that this combination of two unprotectable elements is not sufficiently
 13 numerous or original to constitute original work entitled to copyright protection.”);
 14 see Defs’ MSJ Memo. (Doc. 92-1) at 21; Defs’ MSJ Reply Memo. (Doc. 99) at 20-
 15 21; see also Narell v. Freeman, 872 F.2d 907, 911 (9th Cir. 1989) (“Ordinary phrases
 16 are not entitled to copyright protection”).
 17 3.      CONCLUSION
 18         Defendants respectfully request that the Court revisit its ruling and apply the
 19 extrinsic test to the claimed substantial similarity in lyrics.
 20
 21 Dated: December 23, 2021                                    /s/ Peter Anderson
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                                                       formerly known as Sony/ATV Music
 26                                                     Publishing LLC, KOBALT MUSIC
                                                      PUBLISHING AMERICA INC., BIG
 27                                                   MACHINE LABEL GROUP, LLC and
                                                      UNIVERSAL MUSIC GROUP, INC.
 28
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